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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    NORTHERN DIVISION

 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL EMPLOYEES,
 AFL-CIO, et al.,

                        Plaintiffs,

                            vs.                          Civil Action No. 1:25-cv-00596

 SOCIAL SECURITY ADMINISTRATION,
 et al.,

                      Defendants.

                                      PROPOSED ORDER

       Having considered Plaintiffs’ Motion for Supplementation of the Administrative Record

or, in the Alternative, Limited Discovery, Plaintiffs’ motion is GRANTED.

       Defendants are ordered to supplement the administrative record produced on April 2, 2025,

to include complete and unredacted: (1) employment documentation for all DOGE personnel,

defined for purposes of this Motion as any of the eleven DOGE Team members disclosed by

Defendants or any recent additions not yet disclosed to Plaintiffs or the Court, operating at the

Social Security Administration, including agreements or instructions regarding DOGE oversight

of DOGE personnel; (2) certificates of completion of Information Security and Privacy Awareness

training for all DOGE personnel operating at the Social Security Administration; and (3) written

justifications for DOGE personnel access to Social Security Administration systems or record.

       Defendants shall provide a privilege log detailing each redaction or withholding made in

the production of the administrative record.



       Dated: ____________                                 ___________________
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                                          Hon. Ellen Lipton Hollander
                                          United States District Judge
